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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                          GREAT FALLS DIVISION

UNITED STATES OF AMERICA,                       CR 18-101-GF-BMM-1

                     Plaintiff,
        vs.

GARY GIRARD SHEEHAN,

                     Defendant.

      On March 18, 2019, the undersigned granted Defendant, Gary Sheehan’s

(Sheehan) Motion for a Psychiatric Exam, (Doc. 54). On May 22, 2019, the Court

received notice from I. Jacquez, Warden at Federal Detention Center, SeaTac,

Washington, where Sheehan is being evaluated, requesting a 15-day extension of

the evaluation.

      Accordingly, IT IS ORDERED that a 15-day extension of the evaluation of

Sheehan is GRANTED. The study period will end on May 30, 2019, with the

final report submitted to the Court no later than June 17, 2019.

      DATED May 23, 2019 .
